 Case 18-04655 Doc 16-1 Filed 03/15/18 Entered 03/15/18 17:39:17                                       Desc
           Statement Accompanying Relief From Stay Page 1 of 1
                          REQUIRED STATEMENT TO ACCOMPANY
                               ALL MOTIONS TO MODIFY STAY

All Cases: Debtor(s)_Francis O. Beniana and Rita Beniana____ Case No._18-04655__Chapter _7

All Cases: Name of Moving Creditor Toyota Motor Credit Corporation Date Case Filed 2/21/18

Nature of Relief Sought: X Lift Stay         Annul Stay        Other (describe)___________________

Chapter 13: Date of Confirmation Hearing                            or Date Plan Confirmed

Chapter 7:     No-Asset Report Filed on
             X No-Asset Report not Filed, Date of Creditors Meeting                   3/22/2018

1.      Collateral
        a.         Home
        b.      X Car Year, Make and Model 2015 Toyota RAV4
        c.         Other

2.      Balance Owed as of Petition Date $14,774.72 as of 3/14/2018
        Total of all other Liens against Collateral $_________________

3.      In Chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history
        listing the amounts and dates of all payments received from the debtor(s) post-petition.

4.      Estimated Value of Collateral $ 14,575.00

5.      Default
        a.      X Pre-Petition Default
                Number of months         5               Amount $2,059.99
        b.           Post-Petition Default
                i.          On direct payments to the moving creditor
                         Number of months                        Amount $
                ii.         On payments to the Standing Chapter 13 Trustee
                         Number of months                       Amount $
6.      Other Allegations
        a.          Lack of Adequate Protection § 362 (d)(1)
                i.          No insurance
                ii.         Taxes unpaid         Amount $
                iii.        Rapidly depreciating asset
                iv.         Other ______________________

        b.       X No Equity and not Necessary for an Effective Reorganization § 362 (d)(2)

        c.           Other “Cause” § 362 (d)(1)
                 i.         Bad Faith (describe) _________________
                 ii.        Multiple filings
                 iii.        Other (describe) ____________________________________________

        d.       Debtor’s Statement of Intention regarding the Collateral
                 i.   X Reaffirm ii.     Redeem     iii.   Surrender   iv.   No Statement of Intention Filed

Date:   3/15/2018                                               _____/s/ Terri M. Long_______
                                                                    Counsel for Movant
